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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 1:22-cv-21781-DPG

      MARTHA CUEVAS,

                    Plaintiff,                              Assigned to the Honorable
                                                            Judge Darrin P. Gayles
      v.

      SWIFT AIR, LLC, a foreign limited liability
      company and AEROTECH MIAMI, INC.
      d/b/a/ IAERO AIRWAYS, a Florida
      corporation for profit,

                    Defendants.


                   DEFENDANTS’ MEMORANDUM IN SUPPORT OF
           ITS PENDING MOTION TO DISMISS THE COMPLAINT, OR IN THE
                 ALTERNATIVE, MOTION TO COMPEL ARBITRATION

           Pursuant to Local Rule 7.2, Defendant Swift Air, LLC (“Swift Air”) and Defendant

  Aerotech Miami, Inc. (“Aerotech”) (together herein, “Defendants”), through counsel undersigned,

  hereby file this Memorandum in Support of its Motion to Dismiss the Complaint filed by Plaintiff

  Martha Cuevas, or in the alternative, Motion to Compel Arbitration (herein, “Motion”), which

  Defendants previously filed in the state court prior to removal.1 Defendants respectfully request

  that the Court dismiss the Complaint because (i) Plaintiff failed to perfect timely service of process

  upon Defendants, and (ii) the matter is preempted by federal law. In the alternative, Defendants

  respectfully request that the Court stay the matter and compel arbitration pursuant to a valid and

  enforceable arbitration agreement between the parties.




  1
        Defendants filed a copy of the Motion and corresponding exhibits with Defendants’ Notice
  of Removal (Doc. 1-2, Pgs. 23-38). For convenience, a copy also is attached hereto as Exhibit A.

                        W E I S S S E R O T A H E L F M A N C O L E & B I E R M A N , P. L .
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         I.      Factual and Procedural Background.

         In approximately August 2017, Swift Air hired Plaintiff to work as a flight attendant. See

Complaint, Doc. 1-2, Pg. 17, ¶ 6. Plaintiff accepted the terms of the employment, including but not

limited to an Arbitration Agreement. See Arbitration Agreement, attached as Exhibits B and C to the

Motion, and signed by Plaintiff on August 29, 2017.2 The Arbitration Agreement compelled Plaintiff

and Swift Air to arbitrate any and all “claims, controversies, or disputes that may arise out of the

employment relationship” with Swift Air3, pursuant to the rules of the American Arbitration

Association. See Motion, Ex. C, internal page 1. More specifically, the claims covered by the

Arbitration Agreement include, but are not limited to:

                 …[A]ny claim or controversy arising out of or relating to, any provision of
                 this Agreement, or the breach thereof, and any claim or controversy arising
                 out of the Employee’s employment or termination thereof, including but not
                 limited to claims allegedly resulting from: wages or other compensation
                 due; breach of any contract or covenant; whistle blowing; tort; or violation
                 of any applicable federal, state, or other government constitution, statute,
                 ordinance, regulation, or public policy…
         The Arbitration Agreement does not apply to or cover claims for:

                 …[W]orkers’ compensation or unemployment compensation benefits;
                 claims for injunctive and/or other equitable relief for restrictive covenant or
                 intellectual property violations, or claims based upon an employee pension
                 or benefit plan that either (1) contains an arbitration or other non-judicial
                 resolution procedure, in which case the provisions of such plan shall apply,
                 or (2) is underwritten by a commercial insurer which decides claims. If
                 either the Company or the Employee has more than one claim against the
                 other, one or more of which is not covered by this Agreement, such claims
                 shall be determined separately in the appropriate forum for resolution of
                 those claims.

  2
          Defendants attached Plaintiff’s actual signature page as Exhibit B, and the first three pages
  of the then-extant Arbitration Agreement in Plaintiff’s employee file as Exhibit C.
  3
          The Arbitration Agreement defines Swift Air to include all of its subsidiaries and affiliated
  entities, including “all former, current, and future officers, directors, and employees of all such
  entities, in their capacity as such or otherwise, all benefit plans and their sponsors, fiduciaries,
  administrators, affiliates and agents, in their capacity as such and otherwise, and all successors and
  assigns of any of them”. See Motion, Ex. C., internal page 1.

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See Motion, Ex. C, internal page 1.

         The Arbitration Agreement states, in large, capitalized font, that “EACH PARTY TO

THIS AGREEMENT ACKNOWLEDGES THAT IT HAS CAREFULLY READ THIS

AGREEMENT, [AND] THAT IT UNDERSTANDS ITS TERMS…”. See Motion, Ex. C,

internal page 4. All four pages of the Arbitration Agreement are clearly labeled “ARBITRATION

AGREEMENT”. See Motion, Ex. C, internal pages 1-4.

         In 2019, Swift Air was rebranded as iAero Airways. See Complaint, Doc. 1-2, ¶ 4 (alleging

iAero Airways is the successor in interest to Swift Air). Plaintiff’s employment ended in July 2019.

See Complaint, Doc. 1-2, Pg. 17, ¶ 13.4 Following her separation from employment, and despite the

Arbitration Agreement, Plaintiff filed the instant Complaint against Defendants alleging causes of

action for: (i) alleged violations of the Americas with Disabilities Act, 42 U.S.C. § 12101; and (ii)

alleged disability discrimination in violation of Florida’s Civil Rights Act, Fla. Stat. 760.10. See

Complaint, Doc. 1-2, Pg. 17, ¶¶ 15-26. The allegations supposedly supporting these claims focus

exclusively on Plaintiff’s employment and the events leading up to and including Plaintiff’s

separation from employment. See Complaint, Doc. 1-2, Pg. 17, ¶¶ 6-14.

         Plaintiff filed the Complaint on September 29, 2021. On October 18, 2022, defense counsel

  reached out to Plaintiff’s counsel, verifying whether Plaintiff initiated service of process on

  Defendants. Plaintiff’s counsel confirmed service was not initiated yet and requested whether

  Defendants would agree to accept service. On October 19, 2021, defense counsel confirmed that

  Defendants agree to accept service by mail. Plaintiff’s counsel never responded. One month later,

  on November 22, 2021, defense counsel followed up, inquiring when Defendants could expect



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        Defendants dispute Plaintiff’s assertions regarding the alleged reason for the cessation of
  employment. However, for purposes of the Motion, the dispute is irrelevant.

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  service of process to begin. Plaintiff’s counsel never responded. On November 29, 2021, defense

  counsel again inquired about service. See relevant portions of email thread between counsel,

  attached as Exhibit A to the Motion. Despite defense counsel extending repeated reminders as a

  professional courtesy, Plaintiff’s counsel never responded, and Plaintiff never initiated service of

  process. Instead, on May 9, 2022, approximately 3.5 months after the service deadline lapsed, and

  almost seven months after Defendants initially agreed to accept service by mail, Plaintiff filed a

  Motion for Extension of Time to Serve Defendants. See Motion for Extension of Time, Doc. 1-2,

  Pgs. 21-22. Plaintiff did not file a memorandum in support and the Motion for Extension was

  pending with the state court at the time of removal.

         II.     Law and Argument.

         A. Plaintiff failed to perfect timely service of process upon Defendants.

         First and foremost, the Court should dismiss the Complaint for failure to perfect timely

  service of process upon Defendants. Pursuant to Florida Rules of Civil Procedure, Rule 1.070(j),

  a plaintiff must serve the initial process upon a defendant within 120 days after filing the initial

  pleading. The court may extend the time for service “…if the plaintiff shows good cause or

  excusable neglect for the failure…” to serve within this 120-day period. See Powell v. Madison

  County Sheriff’s Dept., 100 So.3d 753, 754-755 (Fla. 1st DCA 2012) (affirming dismissal for

  failure to timely serve, even when statute of limitations will bar further action, where trial court

  utilized its discretion and properly considered factors pertaining to such dismissal). If neither good

  cause nor excusable neglect are shown, a trial court may use its discretion to dismiss the matter

  without prejudice. See Pixton v. Williams Scotsman, 924 So.2d 37, 39-40 (Fla. 5th DCA 2006).

  Where an attorney is involved in the alleged misconduct, courts consider the Kozel analysis in

  determining whether dismissal is warranted, which includes:


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                 …[W]hether the attorney's disobedience was willful, deliberate, or
                 contumacious, rather than an act of neglect or inexperience; 2) whether the
                 attorney has been previously sanctioned; 3) whether the client was
                 personally involved in the act of disobedience; 4) whether the delay
                 prejudiced the opposing party through undue expense, loss of evidence, or
                 in some other fashion; 5) whether the attorney offered reasonable
                 justification for noncompliance; and 6) whether the delay created
                 significant problems of judicial administration.


  See Kozel v. Ostendorf, 629 So.2d 817, 818 (Fla. 1993); see also Pixton, 924 So.2d at 40.

         Here, Plaintiff filed the Complaint on September 29, 2021, with the service deadline of

  January 27, 2022. Despite repeated reminders extended to Plaintiff’s counsel, Plaintiff never

  initiated service of process. Instead, on May 9, 2022, approximately 3.5 months after the service

  deadline lapsed, and almost seven months after Defendants initially agreed to accept service by

  mail, Plaintiff filed a Motion for Extension of Time to Serve Defendants. The Motion for Extension

  of Time failed to provide any justification or explanation whatsoever for the delay and

  noncompliance, let alone good cause or excusable neglect. More specifically, the Motion for

  Extension failed to notify the Court that Defendants agreed to accept service by mail almost seven

  months previously, that defense counsel repeatedly reminded Plaintiff’s counsel to serve the

  Complaint, and that Plaintiff’s counsel failed to respond. Notably, Plaintiff also failed to serve the

  Motion for Extension of Time on defense counsel or notify them of the pending request, despite

  being aware of the representation. Plaintiff never filed a memorandum in support of his Motion

  for Extension of Time and the motion was still pending in the state court at the time of removal.

         Because counsel offered no justification whatsoever for the requested extension,

  Defendants do not know whether Plaintiff, her counsel, or both were involved in the failure to

  timely serve. However, upon information and belief, the noncompliance was not a result of

  inexperience of counsel, who, according to the Florida State Bar, is a shareholder/partner in his

  firm and admitted to practice in Florida for almost ten years. However, the delay unnecessarily

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  prejudiced Defendants, who expended time and resources, first, in seeking clarification on the

  status of service, which Plaintiff’s counsel repeatedly refused to provide, and second, in defending

  against the untimely service.

         Timely service was not perfected, and Plaintiff failed to receive an extension. Defendants

  respectfully request that the Court exercise its discretion to dismiss the Complaint under Rule

  1.070(j).

         B. The matter is preempted by federal law.

         The Court must dismiss the Complaint because Plaintiff’s disability discrimination claims

  arise out of issues of aviation safety, and in particular, whether a flight attendant could safely

  perform duties required of her position, and therefore are preempted by the Federal Aviation Act.

  See Fed. Aviation Act of 1958, Pub. L. No. 85-726, 52 Stat. 971 (1938). Congress passed the

  Federal Aviation Act in order to create a national system of aviation regulation. See Ventress v.

  Japan Airlines, 747 F.3d 716, 721 (9th Cir. 2014). Congress intended to hold air carriers to a single

  system of regulation to prevent an otherwise patchwork and unworkable system of state laws and

  rules. See French v. Pan Am Express, Inc., 869 F.2d 1, 6 (1st Cir. 1989). When Congress passed

  the Federal Aviation Act, it intended to establish field preemption, the most expansive form of

  preemption, with respect to aviation safety. See Ventress, 747 F.3d at 722-723. As a result, laws

  and claims that touch on questions of aviation safety are preempted. Plaintiff’s disability

  discrimination claims are preempted to the extent that they intertwine with and/or substantially

  depend upon the application or interpretation of aviation safety and requirements for aviation

  employees, including, by way of example only, whether a flight attendant could safely perform

  required duties. Cf. Ventress, 747 F3d at 722-723; Cf. Kobold v. Good Samaritan Reg’l Med. Ctr.,

  832 F.3d 1024, 1032-1034 (9th Cir. 2016) (LMRA preemption where claim based solely on a CBA



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  or is “substantially dependent” on a CBA such that court must interpret CBA to resolve claim);

  see also Complaint, Doc. 1-2, Pg. 17, ¶¶ 6, 7, 11.

         Building on the Federal Aviation Act, Congress also passed the Federal Aviation

  Deregulation Act, 49 U.S.C. § 40101 et seq., as a scheme that would broadly preempt any state

  laws that affect an airline’s provision of services. See, e.g., Hodges v Delta Airlines, Inc., 44 F.3d

  334 (5th Cir. 1995) (en banc). More specifically, the ADA preemption provision states that: “a

  State…may not enact or enforce a law, regulation, or other provision having the force and effect

  of law related to a price, route, or service of an air carrier”. See Tucker v. Hamilton Sundstrand

  Corp, Inc., 268 F.Supp.2d 1360, 1363-1364 (S.D. Fla. 2003) (Aviation Deregulation Act

  preempted claim under Florida Whistleblower Act), citing 49 U.S.C. § 41713(b)(1). The Supreme

  Court has outlined a two part test for ADA preemption over a state claim, including: (i) whether

  the claim is “related to” prices, routes, or services of an air carrier; and (ii) whether the claim

  constitutes an enactment or enforcement of state law. The Supreme Court has given the term

  “related to” broad meaning. Id. citing Morales v. Trans World Airlines, Inc., 504 U.S. 374, 390

  (1992) (holding state consumer protection laws prohibiting deceptive advertisements preempted

  because it relates to price, route, or service of air carrier). Indeed, to be preempted, “the laws do

  not have to actually prescribe rates, routes, or services or be specifically addressed to the airline

  industry, or be inconsistent with federal law”, rather they need to be merely “connected with”

  airline rates, routes, or services, even if only indirectly. Id. at 1364, citing Morales, 504 U.S. at

  375, 385-387.

         Here, while the Florida state law does not specifically prescribe the rates, routes, or services

  or specifically address the airline industry, Plaintiff’s claims are connected to the services and

  routes, if only indirectly. Plaintiff alleges she was hired as a flight attendant, and that, even though



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  she admittedly could not fly or perform any in-flight tasks, she could perform her “regular job

  duties without issue”. See Complaint, Doc. 1-2, Pg. 17, ¶¶ 6, 7, 11. Thus the claims directly relate

  to Plaintiff’s physical capabilities as a flight attendant and what services flight attendants are

  required to perform, and indirectly relate to routes, which would be interrupted and need adjusting

  and/or re-staffing given the restrictions. See Parise v. Delta Airlines, Inc., 141 F.3d 1463, 1466-

  1468 (11th Cir. 1998), citing Belgard v. United Airlines, 857 P.2d 467 (Colo. App. 1992) (state law

  on disability discrimination preempted because physical capabilities of flight personnel “related

  to” services rendered by airline); see also Fitzpatrick v. Simmons Airlines, Inc., 218 Mich. App.

  689 (Mich. 1996) (per curiam), app. denied, 570 N.W.2d 785 (Mich. 1997) (state law civil rights

  statute preempted as relating to services of an air carrier where employee alleged he was separated

  by airline because he did not meet height and weight standards).5 Plaintiff’s claims are preempted

  and must be dismissed.

         C. The parties agreed to arbitrate the matter.


         In the alternative, should the Court elect not to dismiss the Complaint for failure to perfect

  timely service of process and/or federal preemption – which it should – Defendants respectfully

  request that the Court stay the matter and compel arbitration. When considering whether to compel

  arbitration, courts analyze three elements under both federal law and the Florida Arbitration Code6:


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           In Parise, the Eleventh Circuit held that an age discrimination claim was not preempted
  and distinguished it from Fitzpatrick and Belgard because in Parise, the defense, but not the claim
  itself, related to airline safety. See Parise, 141 F.3d at 1467. Here, Plaintiff’s claim mirrors
  Belgard, with her physical capabilities as a flight attendant and the preempted state statue directly
  at issue on the face of the Complaint, and thus should be preempted.
  6
           The Arbitration Agreement does not specify a substantive law, and instead clarifies that
  arbitration should be adjudicated in accordance with the law which would be applied by an Arizona
  district court, see Motion, Ex. C., internal page 3, which should be decided by the arbitrator after
  conducting its own choice of law analysis. Given that Plaintiff allegedly resides in Florida and that
  Swift Air changed its headquarters from Arizona to North Carolina (operational) and Florida
  (corporate) as part of an acquisition in 2019, see Complaint, Doc. 1-2, Page 16, ¶¶ 2-4, Defendants

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  (i) whether a valid written agreement to arbitrate exists; (ii) whether an arbitral issue exists; and

  (iii) whether movant waived the right to arbitrate by actively participating in the lawsuit. See Laney

  v. Austin, No. 3:19-cv-1278-TJC-JRK, 2021 WL 825088, *6 (M.D. Fla. Mar. 4, 2021) (compelling

  arbitration between employee and employer where employer underwent extensive reorganization,

  but agreement included successors and assigns of company); see also O’Keefe Architects, Inc. v.

  CED Const. Partners, Ltd., 944 So.2d 181, 185-187 (Fla. 2006) (compelling arbitration under the

  Florida Arbitration Code).

          Here, a valid, written agreement exists to arbitrate, which Plaintiff signed at the

  commencement of employment. The Arbitration Agreement requires the arbitration of claims

  arising out of Plaintiff’s employment or termination, including any torts or violations of any

  applicable law, regulation, or public policy. See Motion, Ex. C, internal page 1. The claims

  asserted in the Complaint arise directly from her employment and cessation thereof, and alleged

  violations of state and federal regulations. See Complaint, Doc. 1-2, Pg. 17, ¶¶ 6-14. And

  Defendants preserved their right to arbitrate by promptly moving to compel arbitration, before

  filing an answer or engaging in the litigation process. Accordingly, the parties should be compelled

  to arbitrate Plaintiff’s claims.

          Yet, even if Plaintiff were able to cobble together some question with respect to

  applicability or enforceability of the Arbitration Agreement (and Defendants respectfully submit

  that no such question exists), the parties agreed to commit to the arbitrator all questions of

  applicability or enforceability, and thus arbitration is still required. See Motion, Ex. C, internal

  page 3. When parties clearly and unmistakably agree to arbitrate gateway issues, the district courts

  should compel arbitration. See Jones v. Waffle House, Inc., 866 F.3d 1257, 1271 (11th Cir. 2017);


  cite Florida law in support of this Motion to Compel; however, arbitration also is appropriate under
  North Carolina’s Revised Uniform Arbitration Act. See N.C.G.S. § 1-569.6-1-596.7.

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  see also O’Keefe Architects, Inc., 944 So.2d at 186-187 (discussing precedent of placing gateway

  issues in hands of arbitrator). Here, the Arbitration Agreement clearly delegated the questions of

  arbitrability and enforceability to an arbitrator by stating that “the arbitrator has exclusive authority

  to resolve any dispute relating to the applicability or enforceability of this Agreement”. See

  Motion, Ex. C, internal page 3. Additionally, the parties agreed that the Employment Arbitration

  Rules and Mediation Procedures of the AAA apply, see Motion, Ex. C, internal page 2, and the

  AAA Employment Arbitration Rules provide that the “arbitrator shall have the power to rule on

  his or her own jurisdiction, including any objections with respect to the existence, scope or validity

  of the arbitration agreement.” See AAA Employment Rule 6(a) (2016).

          Thus, the parties agreed to arbitrate not only the claims encompassed in this litigation, but

 also gateway issues, if any. The Court must stay the litigation and compel arbitration.

          III.    Conclusion.

          For the foregoing reasons, Defendants respectfully request that the Court dismiss the

  Complaint for failure to timely perfect service and/or federal preemption. In the alternative,

  Defendants respectfully request that the Court stay the matter and compel arbitration.


  DATED: June 23, 2022
                                              Respectfully submitted,

                                              By: /s/ Daniel L. Abbott
                                                     Daniel L. Abbott, Esq.
                                                     Florida Bar No. 767115
                                                     dabbott@wsh-law.com
                                                     Weiss Serota Helfman Cole & Bierman, P.L.
                                                     200 East Broward Boulevard, Suite 1900
                                                     Fort Lauderdale, Florida 33301
                                                     Telephone: (954) 763-4242
                                                     Telecopier: (954) 764-7770

                                                     Counsel for Defendants




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